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    RELIGION

   The Role Of Solar Eclipses In Religion
   AUGUST 18, 2017 · 4:31 PM ET

   HEARD ON ALL THINGS CONSIDERED

   By Tom Gjelten



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   Throughout human history, solar eclipses have been seen as having great religious
   significance, often as omens or signs of divine warning or punishment. Major and
   minor religions alike have their own understandings.


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   Our fascination with solar eclipses like the one coming up Monday is thousands of
   years old. It was thought that the sudden disappearance of the Sun was one of
   those mysteries that only the gods could explain. Science eventually provided the
   answers, but for religious believers, a solar eclipse remains an occasion of special
   significance. Here's NPR's Tom Gjelten.

   TOM GJELTEN, BYLINE: Imagine you're a Plains Indian on a perfect summer day,
   hunting buffalo under a cloudless prairie sky. Suddenly, for no reason, the sun
   begins to go dark.

   ANTHONY AVENI: You go through a twilight like you've never seen. You see
   shadows like you've never seen. You see colors like you've never seen. And then
   you see what looks like a hole in the sky.

   GJELTEN: And you're terrified. Anthony Aveni is a professor of astronomy and
   anthropology at Colgate University. In his new book, "In The Shadow Of The
   Moon," Aveni tell stories of how cultures through the ages have related to solar
   eclipses. In some pre-modern societies, the sun was itself seen as a living thing.
   During a solar eclipse, some people figured the sun was being eaten and needed
   to be alerted to the danger it faced.

   AVENI: People banging pans and making noise and pinching their dogs to make
   them howl at the eclipse. And an anthropologist asked them about this and said,
   you know, are you chasing away the demons with your noise? And one responded,
   said, no, we're not chasing away the demons. We're trying to get the sun's
   attention.

   GJELTEN: Those who believed in one God, like the Jews, didn't see the sun as a
   cosmic player, but a solar eclipse scared them as well. They turned to their rabbis
   for guidance. Jeremy Brown has studied ancient rabbinic teachings recorded as
   the Talmud.

   JEREMY BROWN: In Judaism, human actions have consequences. And so when the
   rabbis in the Talmud experienced the darkness of a solar eclipse, they thought it
   was a curse and asked what could have led to this frightening event.

   GJELTEN: Some seemingly random explanations appear in the Talmud, among
   them that an eclipse could follow from a chief rabbi not being properly eulogised
   at his death. Once it became clear an eclipse could be predicted, of course it was

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   harder to see it as a divine response to some human conduct. And yet the notion
   that an eclipse is a sign from God has persisted in some religious circles. A
   popular Australian pastor, Steve Cioccolanti, posted a lecture on his YouTube
   channel recently in which he said next week's solar eclipse may portend
   something bad happening in America.

   (SOUNDBITE OF ARCHIVED RECORDING)

   STEVE CIOCCOLANTI: I think that a major earthquake or a plague or meteorite
   strikes are being foretold. Is that what I'm prophesying - no. I'm just saying that's
   entirely possible.

   GJELTEN: Even in faith traditions that now fully accept the science, a solar eclipse
   remains an occasion that highlights the wonders of the universe and our small
   place in it. In a book and on his website Talmudology, Jeremy Brown has written
   about Jewish understandings of solar eclipses.

   BROWN: Today, an eclipse is no longer seen as a threat, as an omen but as
   something to be celebrated. There is a consensus of opinion amongst the rabbis
   that an eclipse should be witnessed with joy and happiness and appropriate
   psalms and blessings.

   GJELTEN: Brown and his family are heading to Charleston, S.C., for an eclipse-
   viewing event at a synagogue. But a total solar eclipse is momentous to everyone.
   The National Convention of American Atheists will also be in Charleston, hosting a
   viewing of their own. Tom Gjelten, NPR News.

   (SOUNDBITE OF THE DIP'S "WON'T BE COMING BACK")

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